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                     UNITED STATES COURT OF APPEALS
                            FOR THE SECOND CIRCUIT

We The Patriots USA, Inc.,                :
         Et Al.,                          :
v.                                        :            22-249-cv
                                          :
Connecticut Office of Early               :
Childhood Development, et al.             :            November 22, 2022


           APPELLANTS’S LETTER BRIEF AN APPLICABILITY OF
     M.A. V. ROCKLAND COUNTY DEPARTMENT OF HEALTH, ET AL.
         On the relation of bodies and souls, both the Ancient Greek and the Judeo-

Christian traditions agree: Spirit triumphs over matter.

         "I never thought your announcements/Could give you -- a mere human being

--/Power to trample the gods' unfailing, Unwritten laws. These laws weren't made

now/Or yesterday. They live for all time" Antigone.

         “For what shall it profit a man, if he shall gain the whole world, and lose his

soul?”

Mark, 8:36.

         Can religious believers find space to live out their creeds in Connecticut?

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         After argument before Circuit Judges Pierre N. Level, Denny Chin and

Joseph F. Bianco, the Court issues an order directing the parties to submit a letter

brief not to exceed 15-pages in length within 14 days of this Court’s decision in

M.A., et al. v. Rockland County Department of Health, et al., No 21-551. The M.A.

decision was decided on November 9, 2022. The appellants timely file this letter

brief.

         I.    The M.A. Decision – A Reversal After The District Court Granted
               The Defendant’s Motion For Summary Judgment; In The Instant
               Case, The Plaintiffs, Raising Claims Identical To Those In M.A.,
               Were Denied Discovery As The Action Was Dismissed
         The M.A. case involved a challenge to New York vaccination requirements

for school children against measles, raising procedural due process, equal protection

and First Amendment free exercise claims. The trial Court granted summary

judgment as to all claims in favor of public officials, dismissing the action. This

Court vacated the trial Court ruling as to the free exercise claim and remanded for

trial on that claim. The ruling was based on this Court’s determination that there

were “factual questions” about whether the emergency declaration supporting the

vaccination policy requiring a jury’s fact-finding, and that, on the record in M.A., it

was not apparent what level of scrutiny – rational basis or strict scrutiny – was

appropriate.




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      At the outset, the plaintiffs in the instant case note the fundamental difference

between the two cases: M.A. was decided after summary judgment, and after the

parties had conducted discovery to explore their claims and defenses. In the instant

case, the trial Court ruled, as a matter of law, that the allegations of the Complaint

failed to state a claim, and dismissed the action without the parties being able to

conduct discovery. Both the regulation at issue in Rockland County and the

Connecticut statute at issue in the instant case are virtually identical – both permit a

student to enjoy a medical exemption from a vaccination requirement; both deny any

student the right to claim a religious exemption. At a minimum, it would appear that

the similarity between the two regulations requires this Court to vacate the District

Court’s judgment and to remand for further proceedings. It simply cannot be said

that there are no conceivable facts that can be discovered to warrant dismissal

pursuant to Federal Rules of Civil Procedure 12b(6).

      Neither can it be said, nor was it alleged, that the Complaint was defective on

its face, thus running afoul of the need, even in a notice-pleading context, to plead

sufficient facts to withstand a motion to dismiss. Ashcroft v. Iqbal, 556 U.S. 662

(2009).




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         II.    M.A. Addresses The Same Issue Presented In The Instant Case –
                What To Make Of A Regulatory Regime Denying A Religious
                Exemption, But Permitting A Medical Exemption?
         At issue in both M.A. and the instant case is application of the general

applicability standard in a case burdening the free exercise of religion. In M.A.,

Rockland County permitted children be exempt from the vaccination requirement if

they had valid medical reasons for doing so, but denied children the right to a

religious exemption. M.A., slip op., p. 21. So, too, in Connecticut. Children could

claim a medical exception but were denied the right to claim a religious exemption.

App. 40, Para. 17.

         In both cases, appellants question what the government interest the

vaccination regulations were intended to serve. If the regulations are intended to

prevent the spread of physical illness, neither regulation explains why permitting

medically exempt children to attend school serves that interest. The medically

exempt are as apt to spread infectious disease as a religiously exempt child. Indeed,

a medically exempt child might suffer more serious health effects if exposed. M.A.,

p. 21.

         On its face, the CT regulation and Rockland County regulation seem

selectively to “impose burdens only on conduct motived by religious belief.” Church

of the Lukuni Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 540 (1993.) On their

face, both regulations “prohibit religious conduct while permitting secular conduct

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that undermines the government’s interest in a similar way. Fulton v. City of Phila.,

141 S.Ct 1868, 1877 (2021). “A law is … not generally applicable if it is

substantially underinclusive such that it regulates religious conduct while failing to

regulate secular conduct that is at least as harmful to the legitimate government

interests purportedly justifying it.” Cent. Rabinical Cong. Of the U.S. & Can. V.

N.Y.C. Dep’t of Health & Mental Hygiene, 763 F.3d 183, 197 (2d Cir. 2014).

      As this Court noted in M.A., a regime with a purported purpose of assuring

the general health of students that prohibits religious exemptions while forbidding

religious exemptions raises questions.

      Rockland County’s interest in issuing the Declaration could be to stop the
      transmission of measles, which might lead a factfinder to question why there
      was a medical exemption, where, … medically exempt children are ‘every bit
      as likely to carry undetected measles [as] a child with a religious exemption
      and are much more vulnerable to the spread of the disease and serious health
      effects if they contract it.
M.A., p., 21 (citation omitted). Judge Park’s concurrence was more forceful:

Rockland County’s regulation “was not generally applicable because, by allowing a

religious exemption, it ‘prohibit[ed] religious conduct while permitting secular

conduct that undermine[d] the government’s interest in a similar way,” citing Fulton,

at 1877.” M.A., Park concurring, pp. 2-3.

      What animates a seemingly facially neutral regulation that appears to be

underinclusive is a “fact-intensive question that should be explored at trial through


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the examination of evidence that supports or undermines” the government’s claims.

M.A., at 21. The M.A. Court took pains to note that among the factors a jury should

consider is whether the government’s stated purpose is pretextual.

      The appellant here concedes that, as reported on the records thus far

assembled, there are factors present in M.A. that are not present – at least not yet –

in the instant case. Various comments by public officials in Rockland County made

part of the record in the Rockland County case gave rise to the possibility that the

vaccination policy was inspired, in whole or in part, by religious animus. One official

declared, in a public hearing: “[t]here’s no such thing as a religious exemption,” and,

“anti-vaxxers” are “loud, very vocal, and very ignorant.” M.A., p. 9. As the M.A.

Court noted, these comments could support an inference of hostility to religious

belief that defeat any claim of neutrality. Id., p. 13.

      The appellants cannot plead facts that they have not been permitted to attempt

to discover.

      III.     The District Court Applied The Wrong Standard, Thus Requiring
               Reversal; Strict Scrutiny Should Be The Applicable Standard In
               Any Abridgement Of The Free Exercise Of Religion
      This Court can and should affirmatively state that Jacobson v. Massachusetts,

197 U.S. 11 (1905), a pre-incorporation case predating the evolution of

contemporary standards of review, is of no use in evaluation free exercise of religion

claims in the twenty-first century. It is a shopworn classic of a case pressed into
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service during an emergency; now that the COVID-19 pandemic has passed, a more

reasoned approach to religious liberty claims can, and should, evolve. The opinion

in M.A. provides such an opportunity to move in that direction. In a claim asserting

an abridgement of the right to religious freedom, the standard of review should

always be strict scrutiny. To do less is to run the risk that the state will minimize the

import of religious belief for those with views outside the mainstream.

      M.A. suggests without expressly holding that in a claim pitting free exercise

of religion against the state’s interest in public health, rational basis review will

never be enough to assure that religious belief is safe and secure from governmental

overreach. Notwithstanding the fact that M.A. was submitted to this Court after a

District Court granted summary judgment, this Court nonetheless held that the

question of pretext was so “fact-intensive” as to require exploration “at trial.” M.A.,

pp. 20-21.    “In sum, because factual questions about the [Rockland County

regulation] pervade the issues of neutrality and general applicability, the question of

what level of scrutiny applies cannot be resolved on summary judgment,…” Id., p.

22. The appellants urge this Court to avoid concluding that the factual questions in

M.A. are so unique as to make the case an outlier. In any case in which a religious

exemption is proscribed but a medical exemption is permitted there will be questions

about what motivates the state to limit religious freedom.



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      Requiring strict scrutiny to be the standard for evaluation of any claim of

abridgement of religious liberty would not undermine the policy animating Emp.

Div., Dep’t of Hum. Res. Of Or. V. Smith, 494 U.S. 872 (1990). “[T]he right of free

exercise does not relieve an individual of the obligation to comply with a valid and

neutral law of general applicability on the ground that the proscribes (or prescribes)

conduct that his religion prescribes (or proscribes.” Id., at 879., cited at M.A., p. 14.

Religious liberty is the most compelling and fundamental interest imaginable for a

believer; the state should only be permitted to limit it for compelling reasons of its

own, and the means of curtailing it must of necessity be narrowly drawn to pursue

the state’s interest. Kennedy v. Bremerton Sch. Dist., 142 S.Ct. 2407, 2422 (2022).

      What’s more, Connecticut’s denial of a religious exemption extends not

simply to public schools, but to all schools licensed by the state, including private

schools. Under the Connecticut regime, co-religionists opposed to vaccination are

forbidden to send their children to a school respecting their beliefs on the grounds

that this undermines public health. Yet a medically exempt child is free to attend any

school. Query: What makes a student whose family opposes vaccination of religious

grounds a threat to public health, while transforming the medically exempt into an

acceptable risk? Religious believers are super-spreaders but the medically exempt

are not? Such a regime is animated by an implicit hostility to religious believers:



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their souls can be negotiated away in the name of public safety, while the body of a

medically exempt child must be protected at all costs? 1

      Requiring any denial of a religious exemption to be evaluated by strict

scrutiny is consistent with the teaching of Planned Parenthood v. Casey, 505 U.S.

833, 857 (1992), which rejected a “plenary override” of any individual liberty claims

under the Constitution. Clearly, the right to free exercise of religion is as deserving

of the right to decide whether to bring a fetus to term. Nothing in the Supreme

Court’s decision in Dobbs v. Jackson Woman’s Health Organization, 597 U.S. ___

(2022), suggests otherwise. Abortion is not a right of the sort with same textual and

historical support as the First Amendment’s right to free exercise of religion. One

can be skeptical about contemporary substantive due process without concluding

that the state has acquired the right easily to trample upon historic faiths – even if

the trampling is done for the most laudable of reasons.

      Judge Park’s observation in footnote four of the concurrence of M.A. bears

repeating and emphasis: “[W]e have never said that allowing some unvaccinated

students (i.e., those with medical exemptions) to mingle with their peers in schools,

while excluding religious objectors, would be constitutional). M.A., Park




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 At the very least, discovery is necessary to tease out the logic supporting how
these distinctions are drawn.
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concurrence, f.n.4, p. 4. It has not been said, the appellants here suggest, because it

cannot, as a matter of law, be supported.

      The District Court’s conclusion that Phillips v. New York, 775 F.3d 538 (2d

Cir 2015) defeated the plaintiffs claim before the Court even considered what

standard of review was applicable, is surely error. It is tone deaf to the importance

claims of conscience and freedom exercise of religion that are fundamental to our

way of life. If permitted to stand, the ruling will lend comfort to those who believe

that the public health and welfare require a more aggressive application of a

centralized police power in the United States, a notion at odds with both the historic

commitment to federalism and the separation of powers.

      Beware the public health state; it is a dystopic vision that threatens our

nation’s traditions.

      IV.     Conclusion

      This Court should vacate the judgment of the District Court and remand this

case for further proceedings with direction to apply a strict scrutiny standard to the

claims raised.




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                                           Respectfully Submitted,

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     I hereby certify that:

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Dated: November 22, 2022

                                           /s/ Norman A. Pattis/s/
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                      CERTIFICATE OF SERVICE
      I hereby certify that, on November 22, 2022, an electronic copy of the

foregoing Letter Brief Of The Plaintiffs-Appellants was filed with the Clerk

of the Court using the ECF system and thereby served upon all counsel

appearing in this case.

                                                /s/ Norman A. Pattis /s/
                                                Norman A. Pattis




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